 

 

AQ 245B (Rev. 09/19} Judgment in a Criminal Case (form modified within District on Sept. 30, 2019)
Sheet 1 ~

UNITED STATES DISTRICT COURT

Southern District of New York

 

 

 

 

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v. )
Kaleil Isaza Tuzman Case Number: ($8) 1:15CR00536- 001
USM Number: 75895-054
) Avi Weitzman
5 Defendant’s Attorney
THE DEFENDANT:
DF pleaded guilty to count{s)
[1] pleaded nolo contendere to count(s)
which was accepted by the court.
M was found guilty on counts) 4,5, and 6
after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
18 U.S.C. § 371 Conspiracy to Commit Securities Fraud 9/1/2011 4
18 U.S.C. § 1349 Conspiracy to Commit Wire Fraud . 3/1/2011 5
The defendant is sentenced as provided in pages 2 through Bo of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
CO The defendant has been found not guilty on count(s)

 

(i Count(s) #!! open counts in the underlying indictments(] jg {are dismissed on the motion of the United States.

 

__ Itis ordered that the defendant must notify the United States attommey for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. [fordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economuc circumstances.

9/10/2024

 

Date of Imposition of Judgment

Paudn Lashyh :

Signature of Judge

Hon. Paul G. Gardephe, U.S.D.J.
Name and Title of Judge

 

Spek: 10, 2o 2 |

Date
 

AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 1A

Judgment-—Page = 2s

DEFENDANT: Kaleil lsaza Tuzman
CASE NUMBER: ($8) 1:15CRO0536- 001

ADDITIONAL COUNTS OF CONVICTION

Title & Section Nature of Offense . Offense Ended Count
18 U.S.C. § 371 Conspiracy to Commit Securities Fraud, Make False 4/1/2012 8
Statements in Annual and Quarterly SEC Reports

and Make False Statements to Auditors

 
 

AO 245B (Rev. 09/19} Judgment in Criminal Case

Sheet 2 — Imprisonment

Judgment —- Page 3 of

DEFENDANT: | Kaleil lsaza Tuzman
CASE NUMBER: (S88) 1:15CR00536- 001

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a

total term of:

time served.

The court makes the following recommendations to the Bureau of Prisons:

The defendant is remanded to the custody of the United States Marshal.

The defendant-shall surrender to the United States Marshal for this district:

Chat am OO pmo

 

Cas notified by the United States Marshal.

The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

CL] before 2 p.m. on

 

C1] as notified by the United States Marshal.

[1 as notified by the Probation or Pretrial Services Office.

RETURN

I have executed this judgment as follows:

at

Defendant delivered on _. to |

 

 

, with a certified copy of this judgment.

 

a

 

UNITED STATES MARSHAL

By

 

DEPUTY UNITED STATES MARSHAL
AO 245B (Rev. 09/19) Judgment in a Criminal Case

Sheet 3 — Supervised Release

Judgment—Page 4 of 8

DEFENDANT:  Kaleil lsaza Tuzman
CASE NUMBER: (S8) 1:15CR00536- 001

SUPERVISED RELEASE |

Upon release from imprisonment, you will be on supervised release for a term of:

—

aA

7.

three years supervised release on each of Counts Four, Five, and Six, with all terms to run concurrently.

MANDATORY CONDITIONS

You must net commit another federal, state or local crime.

You must not unlawfully possess a controlled substance.

You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

Wi The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
substance abuse. (check if applicable}
L] You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a: a sentenée of
restitution. (check if applicable)
7] You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
{_] You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, ef seq.) as

directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

Li You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as s well as with any other conditions on the attached

page.

 
 

AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 3A — Supervised Release

Judgment—Page 5 of 8

 

DEFENDANT: Kaleil isaza Tuzman
CASE NUMBER: (S8) 1:15CR00536- 001

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the

court or the probation officer.

You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living _

arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying

the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72

hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer,

9. Ifyou are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.c., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. You must follow the instructions of the probation officer related to the conditions of supervision.

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U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
Judgment containing these conditions, For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www uscourts.gov. woe

Defendant's Signature Date

 

 

 
 

AO 2458 (Rey, 09/19) Judgment in a Criminal Case
Sheet 3D — Supervised Release

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DEFENDANT: Kaleil lsaza Tuzman’
CASE NUMBER: ($8) 1:15CR00536- 001

SPECIAL CONDITIONS OF SUPERVISION

You must provide the probation officer with access to any requested financial information, and you must not incur new
credit charges or open additional jines of credit without the approval of the probation officer.

You must submit your person, and any property, residence, vehicle, papers, computer, or other electronic communication
or data storage device under your control to a search on the grounds that there is a reasonable suspicion that a violation of
the terms of your supervised release may be found. Any search is to be conducted at a reasonable time and ina
reasonable manner. Failure to submit to a search may be grounds for revocation of release. You must inform any other
residents that the premises may be subject to search pursuant to this condition.

You must participate in an outpatient mental health treatment program approved by the United States Probation Office. |
authorize the release of available psychological and psychiatric evaluations and reports, including the presentence
investigation report, to the health care provider.
 

 

AQ 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

Judgment — Page f of _ 8
DEFENDANT: Kaleil Isaza Tuzman
CASE NUMBER: ($8) #:15CRO0536- 001

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Restitution Fine AVAA Assessment* JVTA Assessment**
TOTALS $ 300,00 $ $ § 5

CL) The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be
entered after such determination.

L] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately pro ortioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(7), all nonfederal victims must be paid
before the United States is paid.

Name of Payee - Total Loss*** Restitution Ordered Priority or Percentage
TOTALS $ C.00 $ 0.00

Restitution amount ordered pursuant to plea agreement $ _

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine fs.paid.in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[| The court determined that the defendant does not have the ability to pay interest and it is ordered that:
(‘] the interest requirement is waived for the C1 fine (7 restitution. ae

C1 the interest requirement forthe [ fine [restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub, L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub, L. No. 114-22.

*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.

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AO 245B (Rev. 09/19} Judgment in a Criminal Case
Sheet 6 — Schedule of Payments

Judgment — Page & of 8
DEFENDANT: Kaleil lsaza Tuzman
CASE NUMBER: (S8) 1:15CR00536- 001

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A | Lumpsumpaymentof$ 300,00 _ due immediately, balance due

[] not later than , or

[] inaccordance with [] C, [] D, “Ty E, or Li F below; or

B- (1 Payment to begin immediately (may be combined with CC, []D,or () F below); or
CL] Payment in equal oe (e.g. weekly, monthly, quarterly) installments of $ over a period of
__ fe.g., months or years}, to commence fe.g., 30 or 60 days) after the date of this judgment; or
D [J Payment in equal (2.2, weekly, monthly, quarterly) installments of $ over a period of
(¢.g., months or years), to commence ___ fe.g, 30 or 60 days) after release from imprisonment to a

term of supervision; or

E (] Payment during the term of supervised release will commence within fe.g, 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F (4 Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

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|
'

L] Joint and Several

Case Number
Defendant and Co-Defendant Names Joint and Several Corresponding Payee,
(including defendant number) Total Amount Amount if appropriate

[1 The defendant shall pay the cost of prosecution.
[] The defendant shall pay the following court cost(s):

Wl The defendant shail forfeit the defendant’s interest in the following property to the United States:
See Consent Preliminary Order of Forfeiture/Money Judgment (Dkt. No. 1210)

Payments shalf be applied in the following order: (1} assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6} fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.

 
